     Case 1:05-cr-00048-AWI-BAM Document 157 Filed 06/16/06 Page 1 of 2


 1   ROGER K. LITMAN, 57634
     Attorney at Law
 2   Civic Center Square
     2300 Tulare Street, Suite 230
 3   Fresno, California 93721
     Telephone: (559) 237-6000
 4
     Attorney for Defendant, ROSALIO BARRAGAN
 5
 6
                   IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                           EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,   )               CASE NO. 05-0048 AWI
10                               )
          Plaintiff,             )
11                               )               STIPULATION AND ORDER
     v.                          )
12                               )
     ROSALIO BARRAGAN,           )
13                               )
          Defendant.             )
14   ____________________________)
15         The United States of America and Defendant, Rosalio Barragan, by and
16   through their respective attorneys, stipulate and agree that, as to Defendant
17   Rosalio Barragon only, the following schedule be set:
18         Any motions to be submitted on behalf of Rosalio Barragan must be filed by
19   August 14, 2006. Any responses to be submitted by the government must be
20   filed by September 5, 2006.
21         Any motion filed on behalf of Rosalio Barragan shall be noticed for
22   September 11, 2006 at 9:00 a.m. in the above-entitled court.
23         The parties to this stipulation also agree that any delay resulting from this
24   continuance shall be excluded in the interest of justice pursuant to 18 U.S.C.
25   §§3161(h)(1)(F),3161(h)(8)(A) and 3161(h)(8)(B)(I).
26   ///
27   ///
28   ///

                                             1
     Case 1:05-cr-00048-AWI-BAM Document 157 Filed 06/16/06 Page 2 of 2


 1   DATED: June 15, 2006              /s/ Virna Santos
                                       VIRNA SANTOS
 2                                     Assistant United States Attorney
                                       This was agreed to by Ms. Santos
 3                                     via telephone, on June 15, 2006
 4
 5   DATED: June 15, 2006              /s/ Roger K. Litman
                                       ROGER K. LITMAN
 6                                     Attorney for Defendant
                                       ROSALIO BARRAGAN
 7
 8                                     ORDER
 9
10   IT IS SO ORDERED.
11   Dated:   June 16, 2006                 /s/ Anthony W. Ishii
     0m8i78                           UNITED STATES DISTRICT JUDGE
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                          2
